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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             Jointly Administered
                                      Debtors.

                                                             Hearing Date: May 19, 2021, at 10:00 a.m. (ET)

                                                             RE: Docket No. 2391

                 OMNIBUS REPLY OF THE OFFICIAL COMMITTEE OF
               TORT CLAIMANTS, THE COALITION OF ABUSED SCOUTS
        FOR JUSTICE, AND THE FUTURE CLAIMANTS’ REPRESENTATIVE TO
    OBJECTIONS TO MOTION OF THE FUTURE CLAIMANTS’ REPRESENTATIVE,
    THE OFFICIAL COMMITTEE OF TORT CLAIMANTS, AND THE COALITION OF
    ABUSED SCOUTS FOR JUSTICE FOR ENTRY OF AN ORDER, PURSUANT TO 11
     U.S.C. §§ 105(a) AND 502(c), (I) AUTHORIZING AN ESTIMATION OF CURRENT
      AND FUTURE ABUSE CLAIMS AND (II) ESTABLISHING PROCEDURES AND
                      SCHEDULE FOR ESTIMATION PROCEEDINGS

             The Official Committee of Tort Claimants (the “TCC”) and the Coalition of Abused

Scouts for Justice (the “Coalition”), and James L. Patton, Jr., the Future Claimants’

Representative (the “FCR”), by and through their undersigned counsel, hereby replies to

objections (the “Objections”) filed by (i) Boy Scouts of America and Delaware BSA, LLC

(collectively, the “Boy Scouts” or the “Debtors”),2 (ii) Century Indemnity Company

(“Century”),3 (iii) certain insurance carriers (collectively, the “Certain Insurers”),4 (iv) the



1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Debtors’ Objection to the Future Claimants’ Representative, the Official Committee of Tort Claimants, and the
Coalition of Abused Scouts for Justice’s Motion for Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c),
(I) Authorizing an Estimation of Current and Future Abuse Claims and (II) Establishing Procedures and Schedule
for Estimation Proceedings [Docket No. 2612] (the “Boy Scouts Objection”).
3
  Century’s Opposition to the Coalition, TCC and FCR’s Motion to Estimate Current and Future Abuse Claims
[Docket No. 2614] (the “Century Objection”).
4
  Opposition of Certain Insurers to Motion of the Coalition, TCC and FCR to Estimate Current and Future Abuse
Claims [Docket No. 2611] (the “Certain Insurers Objection”).


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Church of Jesus Christ of Latter-day Saints,5 joined by the (v) United Methodist Ad Hoc

Committee6 and (vi) Old Republic Insurance Company (“Old Republic”)7 to the Motion of the

Future Claimant’s Representative, the Official Committee of Tort Claimants, and the Coalition

of Abused Scouts for Justice for Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c),

(I) Authorizing an Estimation of Current and Future Abuse Claims and (II) Establishing

Procedures and Schedule for Estimation Proceedings [Docket No. 2391] (the “Motion” or

“Estimation Motion”), filed by the TCC, FCR and the Coalition, and in support thereof states as

follows:


                                             INTRODUCTION

          1.     The parties agree that estimation of abuse claims must be undertaken in

connection with the Boy Scouts’ cases to move forward with a plan. The only disagreement is

with respect to the forum and context of the estimation proceeding. The Estimation Motion

represents the first step in establishing a mechanism to estimate the liability arising from survivor

claims.

          2.     The Boy Scouts can offer little resistance to the Motion other than request that

estimation only be done its way, as proposed in the Plan (and the Confirmation Scheduling

Motion to be heard concurrently with the Estimation Motion). But if the Boy Scouts does get its


5
  Objection of the Church of Jesus Christ of Latter-day Saints, a Utah Corporation Sole, to Motion of the Future
Claimants’ Representative, the Official Committee of Tort Claimants, and the Coalition of Abused Scouts for Justice
for Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation of Current and
Future Abuse Claims and (II) Establishing Procedures and Schedule for Estimation Proceedings [Docket No.
2610].
6
  Joinder of the United Methodist Ad Hoc Committee to the Objection of the Church of Jesus Christ of Latter-day
Saints, a Utah Corporation Sole, to Motion of the Future Claimants’ Representative, the Official Committee of Tort
Claimants, and the Coalition of Abused Scouts for Justice for Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a)
and 502(c), (I) Authorizing an Estimation of Current and Future Abuse Claims and (II) Establishing Procedures
and Schedule for Estimation Proceedings [Docket No. 2681.
7
  Old Republic Insurance Company’s Objection to Motion of the FCR, TCC, and Coalition to Estimate Current and
Future Abuse Claims and Partial Joinder in the Opposition of Certain Insurers to the Motion [Docket No. 2613]
(the “Old Republic Objection”).


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way, it will bend over backwards to avoid a true estimation proceeding that determines the

values of abuse claims for purposes of distribution or otherwise does anything that may be

perceived as threatening to the hold-out parties—the insurers. See Plan § X.M.

         3.      The Boy Scouts’ concerns that estimation that enables parties to group claim

amounts by year, type of abuse, local council and chartered sponsoring organization, as

requested in the Motion, contradicts the Boy Scouts’ heaping praise for the work of its

consultant, Bates White LLC, who apparently has worked for months to be able to categorize

and manipulate claims data easily. Finally, the Boy Scouts raises the specter of its self-imposed

deadline for emergence from bankruptcy by the end of the summer (supported solely by citations

to statements on the record made by Boy Scouts’ counsel and not supported by the business plan

that the Court has never seen),8 which is an insufficient justification to deprive the parties of a

workable methodological process and timeline in which such claims are estimated.

         4.      The insurers and certain other objecting parties offer little in the way of valid

criticism of the Motion. They simply do not want estimation to occur, except maybe the

estimation proposed in the Plan that permits insurers to participate, but exempts them from the

results. The Court should overrule the objections, grant the Motion and grant the parties leave to

advise the District Court of the disposition of the Motion pending its determination of the Motion

to Withdraw the Reference, which will determine the forum in which estimation proceedings will

occur.

         5.      Approximately 84,000 survivors of child rape, molestation and other sexual abuse

arising from the Boy Scouts’ scouting programs have filed claims in these cases. The number of



8
  See Confirmation Scheduling Motion (as such term is defined below), ¶ 13 at 4 (referencing hearing transcripts for
statements of counsel for the Boy Scouts regarding Boy Scouts’ stated intention to emerge from bankruptcy by the
end of summer 2021).


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abuse claims is staggering, but not surprising in light of the Boy Scouts’ legacy of child

molestation stretching back eight (8) decades and actions by numerous jurisdictions to create

statutory windows that eliminated statutes of limitation for such claims (e.g., New York, New

Jersey, North Carolina, Arizona, California and Arkansas).

        6.       The Boy Scouts have enjoyed the benefits of bankruptcy protection for over a

year. Throughout this period, it has been steadfast in its determination to hide the extent of the

sexual abuse in scouting and to ignore the voices of tens of thousands of survivors of scouting

childhood sexual abuse.

        7.       Most recently, in response to discovery requests propounded by the TCC, FCR

and Coalition, the Boy Scouts indicated that it intends to disclose sexual abuse settlement data

only for settlements arising from and after 2016, despite its awareness and possession of data

regarding abuse claims stretching back to 1940. On May 7, 2021, the Boy Scouts advised the

survivor groups of its refusal to provide any information relating to the decades of scouting child

molestation claims arising before 2016. The Boy Scouts’ refusal to provide critical settlement

data does not demonstrate a “steadfast … commitment to provide equitable compensation to

victims of abuse in its Scouting programs ….” Debtors’ Informational Brief [Docket No. 4].

Rather, it is nothing more than an affront to the 84,000 survivors. The estimation proceedings

contemplated in the Motion will finally provide the Boy Scouts, insurers, the Court, survivors

and other parties with the quantifiable extent of the liabilities arising from decades of childhood

sexual abuse.




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                                         BACKGROUND

A.      The Estimation Motion and Discovery

        8.       On March 16, 2021, the TCC, FCR and the Coalition filed the Estimation Motion.

Through the Motion, the moving parties seek a Court order authorizing the estimation of the

aggregate amounts of current and future abuse claims against the Boy Scouts by type of abuse,

by local council, by chartered organization, and on a year-by-year basis to assess the availability

of insurance for the claims, and better understand which insurers and policies may apply, and

establishing the procedures and schedule for those estimation proceedings.

        9.       The estimation process also will set a de facto cap on the Boy Scouts’ aggregate

liability for the estimated claims by defining the maximum amount Boy Scouts and beneficiaries

of any channeling injunction must make available for distribution under a plan to survivors

before such parties receive protection from these claims upon confirmation of such plan.

        10.      In order to further the estimation process and obtain information regarding the

Boy Scouts’ settlement and verdict experience in resolving the numerous childhood sexual-abuse

claims asserted against them, on April 22, 2021, the TCC, FCR and Coalition served a

consolidated set of interrogatories and requests for production on the Boy Scouts in connection

with the Estimation Motion [Docket No. 2684] (the “Estimation Discovery”).

        11.      On May 7, 2021, the Boy Scouts served its Debtors’ Responses and Objections to

First Request for the Production of Documents by the Official Committee of Tort Claimants, the

Coalition of Abused Scouts for Justice and the Future Claims Representative to Boy Scouts of

America and Delaware BSA, LLC, in Connection with Estimation Proceedings (the “Boy Scouts’

Responses to Estimation Request for Production”) and Debtors’ Responses and Objections to the

Official Committee of Tort Claimants, the Coalition of Abused Scouts for Justice and the Future



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Claims Representative’s First Set of Interrogatories to Boy Scouts of America and Delaware

BSA, LLC, in Connection with Estimation Proceedings (the “Boy Scouts’ Responses to

Estimation Interrogatories”), in which it flatly refuses to provide any information regarding

childhood sexual-abuse claims it acknowledges date back some eighty years and agrees only to

“provide responses with regard to the time period from four years prior to the date hereof.” Boy

Scouts’ Responses to Estimation Request for Production ¶ 1 at 7 and 10; Boy Scouts’ Responses

to Estimation Interrogatories ¶ 1 at 7.

        12.      The extent of the Boy Scouts’ stonewalling would be laughable were the subject

matter less serious than denying justice to survivors of child rape, molestation, and other abuse.

For example, Rule 33(d) of the Federal Rules of Civil Procedure, made applicable in bankruptcy

proceedings pursuant to Rule 7033 of the Federal Rules of Bankruptcy Procedure, permits a

party responding to interrogatories to refer to produced business records as follows:


                 (d) OPTION TO PRODUCE BUSINESS RECORDS. If the answer to an
                 interrogatory may be determined by examining, auditing,
                 compiling, abstracting, or summarizing a party's business records
                 (including electronically stored information), and if the burden of
                 deriving or ascertaining the answer will be substantially the same
                 for either party, the responding party may answer by:

                 (1) specifying the records that must be reviewed, in sufficient
                 detail to enable the interrogating party to locate and identify them
                 as readily as the responding party could; and

                 (2) giving the interrogating party a reasonable opportunity to
                 examine and audit the records and to make copies, compilations,
                 abstracts, or summaries.

Fed. R. Civ. P. 33(d). Instead of utilizing Rule 33(d) to identify documents in which the survivor

groups might find responses to basic questions regarding the nature and extent of the Boy

Scouts’ liabilities arising from decades of scouting childhood rape and other molestation, the




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Boy Scouts engages in a series of circular references and denials to ensure that no answers are

provided.

         13.     For example, when asked to provide information regarding a verdict rendered in

favor of a sexual abuse claimant, the Boy Scouts, in the Boy Scouts’ Responses to Estimation

Interrogatories, objects, refuses to respond substantively and states: “The Debtors further object

to this Interrogatory as duplicative of Estimation Request No. 2. Subject to the foregoing

objection, the Debtors refer the Requesting Parties to the Debtors’ response to Estimation

Request No. 2.” Boy Scouts’ Responses to Estimation Interrogatories at 10-11. In turn, the Boy

Scouts’ response to request for production No. 2 states: “The Debtors further object to this

request as duplicative of Estimation Interrogatory No. 2.” Boy Scouts’ Responses to Estimation

Request for Production at 11.

         14.     The Boy Scouts’ scheme of referrals and denials continues throughout its

discovery responses in the hope that virtually no information regarding nearly eighty years of

child rape and other molestation will see the light of day and be held to account. See, e.g., id. at

12-20.


B.       Motion to Withdraw the Reference

         15.     On March 17, 2021, the TCC, Coalition and FCR filed a Motion of the Future

Claimants’ Representative, the Official Committee of Tort Claimants, and the Coalition of

Abused Scouts for Justice for Entry of an Order, Pursuant to 28 U.S.C. § 157(d) and Bankruptcy

Rule 5011(a), Withdrawing the Reference of Proceedings Involving the Estimation of Personal

Injury Claims [Docket No. 2399] (the “Motion to Withdraw the Reference”), requesting that the

District Court withdraw the reference of contested matters involving the estimation of current

and future personal injury tort claims arising from childhood sexual abuse, pursuant to sections



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105(a) and 502(c) of the Bankruptcy Code. The motion was docketed with the District Court on

March 18, 2021. The Boy Scouts, Certain Insurers and Century Indemnity Company have filed

papers in opposition to the motion.

           16.      The Motion to Withdraw the Reference is based, in part, on 28 U.S.C. §

157(b)(2)(B), which states that a bankruptcy court has jurisdiction over core proceedings “but

not the … estimation of contingent or unliquidated personal injury tort … claims against

the estate for purposes of distribution in a case under title 11.” 28 U.S.C. § 157(b)(2)(B)

(emphasis added). The parties contend that the estimation proposed in the Estimation Motion

will be, at least in part, for purposes of distribution because contributions to the trust created by

the Plan will necessarily cap the distributions to holders of abuse claims.

           17.      On April 27, 2021, the TCC, FCR and Coalition filed a request for oral argument

regarding the motion. To date, no hearing date has been scheduled.


C.         The Plan and Plan Discovery

           18.      On April 13, 2021, the Boy Scouts filed its Second Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket No. 2592] (the

“Plan”).9 The following day, the Boy Scouts filed the Amended Disclosure Statement for the

Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware

BSA, LLC [Docket No. 2594] (the “Disclosure Statement”).

           19.      The Plan includes a “Global Resolution Plan” that seeks to channel all childhood

sexual-abuse claims against the Boy Scouts, Local Councils, Contributing Chartered

Organizations, and Settling Insurance Companies to a Settlement Trust that will be responsible

for processing, liquidating, and paying such claims in accordance with certain Trust Distribution


9
    Capitalized terms not otherwise defined herein shall have the same meanings as set forth in the Plan or Motion.


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Procedures. The Trust Distribution Procedures would implement a process through which abuse

claims will be reviewed and valued by the Settlement Trust based on the nature of the abuse.

        20.      In exchange for making financial or insurance contributions to the Settlement

Trust, Boy Scouts, Local Councils, Contributing Chartered Organizations, and Settling Insurance

Companies would receive the protection of a nonconsensual release of the tens of thousands of

abuse claims, which would then be channeled to the Settlement Trust.

        21.      If holders of the childhood sexual-abuse claims as a Class do not vote in favor of

the Plan, the Boy Scouts will seek to impose on survivors its so-called “Toggle Plan,” which (a)

does not provide for the resolution of abuse claims against Local Councils and Contributing

Chartered Organizations, (b) does not “channel” abuse claims against the Local Councils and

Contributing Chartered Organizations to the Settlement Trust, (c) provides for Boy Scouts’

assignment of its self-described “few assets”10 (including interests in its Insurance Policies) to

the Settlement Trust,11 and (d) allows survivors to pursue their claims against Local Councils and

Chartered Organizations through separate litigation. See id. at 7-9.

        22.      The Plan contemplates a highly abbreviated estimation process “for purposes of

and in connection with confirmation,” Motion ¶ 11 at 4, as described in section V.T. of the Plan,

with special, gratuitous protections for insurers:


                 T.     Estimation of Direct Abuse Claims. If the Plan is confirmed
                 as a Global Resolution Plan, then the Bankruptcy Court shall, at
                 the Confirmation Hearing, conduct an estimation of the
                 Debtors’ aggregate liability on account of Direct Abuse Claims
                 in accordance with the procedures set forth in the Bankruptcy
                 Court’s order granting the Confirmation Scheduling Motion.
                 This estimation will, among other things, provide a basis for the
                 Bankruptcy Court and the parties to assess the value of the Direct

10
 Disclosure Statement at 12.
11
 The Plan offers approximately $115 million of cash or other consideration for payment of abuse claims which,
when considering all of the Boy Scouts’ assets, is only 13% of the available assets.


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                 Abuse Claims and whether the settlements proposed in the Plan,
                 including Insurance Settlement Agreements and the Abuse Claims
                 Settlement, should be approved under section 1123(b)(3)(A) of the
                 Bankruptcy Code as compromises that are fair, reasonable, and in
                 the best interests of the estate with respect to disputed claims,
                 disputed liabilities, and disputed issues. As set forth in the order
                 granting the Confirmation Scheduling Motion, the Debtors shall
                 offer evidence at the Confirmation Hearing in support of the
                 estimation, and other parties shall be permitted to submit evidence
                 in support of, or to dispute, the evidence offered by the Debtors.
                 The Confirmation Order will contain the Bankruptcy Court’s
                 findings of fact and conclusions of law with regard to the
                 Debtors’ estimated aggregate liability on account of Direct
                 Abuse Claims, which findings of fact and conclusions of law
                 shall, by their terms, be subject to Article X.M of the Plan and,
                 for the avoidance of doubt, shall not constitute a trial or
                 hearing on the merits or an adjudication or judgment, or
                 accelerate the obligations, if any, of any Insurance Company
                 under its Insurance Policies.

Plan § V.T. at 59 (emphasis added). The special exemption that the Boy Scouts proposes to

afford insurers will limit any assurance of the value of perhaps the Boy Scouts’ principal

potential source of recovery for survivors—insurance policies. Section X.M. of the Plan

reiterates these special benefits and exemptions for insurers, making clear that, with limited

exceptions:

                 none of (a) the Bankruptcy Court’s or District Court’s approval of
                 the Plan or the Plan Documents, (b) the Confirmation Order, the
                 Affirmation Order or any findings or conclusions entered with
                 respect to Confirmation, or (c) any estimation or valuation of
                 Abuse Claims, either individually or in the aggregate
                 (including any agreement as to the valuation of Abuse Claims)
                 in the Chapter 11 Cases shall, with respect to any Insurance
                 Company, constitute or be deemed to constitute a trial or
                 hearing on the merits or an adjudication or judgment, or
                 accelerate the obligations, if any, of any Insurance Company
                 under its Insurance Policies.

Id. § X.M. at 91 (emphasis added).




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        23.      On April 26, 2021, the TCC, FCR and Coalition served on the Boy Scouts

Interrogatories, Requests for Admission and Requests for Production [Docket No. 2695] (the

“Plan Discovery”). To date, the Boy Scouts has not responded to the Plan Discovery.


D.      The Confirmation Scheduling Motion

        24.      On April 15, 2021, the Boy Scouts filed the Debtors’ Motion for Entry of Order

(I) Scheduling Certain Dates and Deadlines in Connection with Confirmation of the Debtors’

Plan of Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related Relief

[Docket No. 2618] (the “Confirmation Scheduling Motion”).

        25.      As set forth in the Objection of the Official Committee of Tort Claimants, the

Coalition of Abused Scouts for Justice, and the Future Claimants’ Representative to the Debtors’

Motion for Entry of Order (I) Scheduling Certain Dates and Deadlines in Connection With

Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain Protocols, and

(III) Granting Related Relief [Docket No. 3816] (the “Objection to Confirmation Scheduling”),

filed on May 12, 2021, by the TCC, FCR and Coalition, the Boy Scouts’ proposed procedures

outlined in the Confirmation Scheduling Motion — and its attempt to undercut the Estimation

Motion and uniquely benefit insurers (apparently to avoid taking on the parties without whom

fair compensation for survivors may be impossible) — appear designed to further the Boy

Scouts’ efforts to run away from its legacy of child sexual abuse and to silence those who still

suffer from its far-reaching effects.

        26.      The Boy Scouts seized upon and adulterated a litigation-management mechanism

proposed in the Estimation Motion to impose a “Notice of Intent” filing requirement on any

party in interest that seeks to participate in the confirmation proceedings, which party may be




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excluded upon objection for any reason unless the Court affirmatively overrules the objection.

See Confirmation Scheduling Motion ¶¶ 18–20 at 7-8.

        27.      In the Confirmation Scheduling Objection, the TCC, FCR and Coalition condemn

the Boy Scouts’ attempt through the Confirmation Scheduling Motion to incorporate estimation

proceedings into the confirmation process—although serving as an acknowledgement that

estimation is a prerequisite to confirming its Plan—as a transparent attempt to co-opt and limit

estimation proceedings and impose an estimation methodology selected by the Boy Scouts

through a procedural motion. The schedule the Boy Scouts proposes “squeezes” fact and expert

discovery that will be needed by other parties to estimate abuse claims and attempts to elevate

the Boy Scouts’ view of the extent of abuse claims as the standard against which other

estimations will be judged to the great prejudice of survivors.12 See id. ¶ 7 at 6.

       28.       The Boy Scouts’ procedures propose “time-limited interviews of a stratified

sample of individual abuse claimants” that are to be “guided by the Mediators or their

designee(s).” This process presumably facilitates the estimation favored by Bates White—the

Boy Scouts’ alleged “abuse claims consultant”—and substitutes the judgment of mediators for

that of experts who will present to the Court methodologies for the estimation of the thousands of

abuse claims asserted against the Boy Scouts. See id. ¶ 8 at 6.


E.      The Proposed Hartford Settlement

        29.      On April 16, 2021, the mediators filed the Second Mediator Report [Docket No.

2624] (the “Second Mediator Report”). In the Second Mediator Report, the mediators



12
  Boy Scouts appears to have retained Bates White for, among other tasks, the purpose of providing “information
about how verdicts do not represent average values of specific sexual abuse cases,” perhaps foreshadowing its and
the Boy Scouts’ biases in excluding relevant sexual abuse data. Debtors’ Application for Entry of an Order
Authorizing the Retention and Employment of Bates White, LLC as Abuse Claims Consultant for the Debtors and
Debtors in Possession, Nunc Pro Tunc to the Petition Date [Docket No. 207], Ex. B (Engagement Letter) ¶ 5 at 2.


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announced a settlement between the Boy Scouts and one of its primary insurers, Hartford (the

“Proposed Hartford Settlement”).

        30.      The Proposed Hartford Settlement provides that Hartford will “buy back” its

policies insuring the Boy Scouts for the amount of $650 million (which amount will be adjusted

downward if the Boy Scout’s other primary insurer, Century Indemnity Company (“Century”),

pays less than $1.3 billion) and a full release of Hartford’s obligations to make any payments to

anyone on account of childhood sexual abuse claims under the those policies. Not only is the

amount not fixed, but it is inadequate to satisfy the applicable settlement or sale standards under

the Bankruptcy Code and the Bankruptcy Rules.

        31.      The agreement memorializing the Proposed Hartford Settlement (the “Hartford

Settlement Agreement”) states that “the Plan shall incorporate this Agreement and shall

constitute a request by the [Boy Scouts] for the Bankruptcy Court to approve the Sale and this

Agreement . . . .” The Hartford Settlement Agreement contemplates that Hartford may request,

upon twenty days’ notice to the Boy Scouts, that the Boy Scouts file a motion to approve the

Proposed Hartford Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure.

        32.      The TCC estimates that Hartford’s actual exposure under the dozens of policies it

sold to the Boy Scouts will be more than thirteen times the proposed settlement amount. The

TCC, the Coalition and the FCR intend to object to the Proposed Hartford Settlement and oppose

any plan of reorganization that incorporates or seeks to effectuate the Proposed Hartford

Settlement.




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                                                  ARGUMENT

A.         The TCC, FCR, Coalition and Boy Scouts Agree That Estimation is a Prerequisite
           for Plan Confirmation

           33.      The TCC, FCR and Coalition—and the Boy Scouts, by its inclusion of estimation

in its Confirmation Scheduling Motion—believe that estimation is a prerequisite to addressing

confirmation requirements, e.g. 11 U.S.C. §§ 1129(a)(7), (11), 1129(b)(1), including the

reasonableness of settlements and the propriety of any releases proposed as part of the Plan.13

           34.      For example, section V.T. of the Plan concedes that


                    estimation will, among other things, provide a basis for the
                    Bankruptcy Court and the parties to assess the value of the Direct
                    Abuse Claims and whether the settlements proposed in the Plan,
                    including Insurance Settlement Agreements and the Abuse Claims
                    Settlement, should be approved under section 1123(b)(3)(A) of the
                    Bankruptcy Code as compromises that are fair, reasonable, and in
                    the best interests of the estate with respect to disputed claims,
                    disputed liabilities, and disputed issues.

Plan § V.T.

           35.      As articulated in the Estimation Motion, the estimation process also will set a de

facto cap on the Boy Scouts’ aggregate liability for the estimated claims by defining the

maximum amount Boy Scouts’ and beneficiaries of any Plan channeling injunction must make

available for distribution under a plan to survivors before such parties receive protection from

these claims upon confirmation of any such plan.

           36.      The Boy Scouts has not undertaken any valuation of the 84,000 childhood sexual

abuse claims. Yet, in its Disclosure Statement, the Boy Scouts nonetheless, without explanation,

ascribes a range in values to abuse claims from $2.4 billion to $7.1 billion. Without valuing the

abuse claims, neither the Court nor survivors can ascertain what the survivors might receive


13
     See Estimation Motion ¶¶ 30-36 at 12-16.


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under the Plan—which is perhaps the most fundamental information every creditor wants to

know before voting on a plan. If a reasonable range of distributions is not provided, there will be

no measure against which to consider a “best interests of creditors” challenge. Also, if the abuse

claims are not valued, neither the Court nor survivors can evaluate if an insurer, local council, or

chartered organization is contributing sufficient consideration to justify the nonconsensual third-

party releases it requires be granted, and whether it is appropriate to have tens of thousands of

abuse claims channeled to a trust. Estimation may also be needed to determine the propriety of

the Proposed Hartford Settlement, which was disclosed after the Estimation Motion was filed.

        37.      Because the Boy Scouts has made no legitimate attempt to evaluate the childhood

sexual-abuse claims, the survivor groups filed the Estimation Motion, which contains its own

proposed schedule for fact and expert discovery, motion practice, briefing, and a hearing in

advance of consideration of any disclosure statement. The estimation of the 84,000 childhood

sexual abuse claims must be completed before the Court can commence a nonconsensual

confirmation hearing. The value of the 84,000 abuse claims is a gating item under the Debtors’

Disclosure Statement and Plan.

B.      The Estimation Proposed in the Plan is Designed to Benefit Insurers

        38.      The Boy Scouts’ version of estimation described in the Confirmation Scheduling

Motion and Plan is critically different from that proposed in the Estimation Motion. The Boy

Scouts has crafted the estimation proposed in the Plan to be toothless. The watered-down and

hurried estimation proposed by the Boy Scouts is expressly designed to uniquely benefit insurers

by exempting only them from any preclusive effects that might otherwise result from the

findings and rulings associated with the estimation or Plan. The Plan, which would fully bind

survivors in limiting their recourse for their claims, makes clear that the Boy Scouts’ favored




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estimation process would not impact whatsoever insurance companies and their policies—

policies which represent the principal source of payment to survivors. See Plan § X.M.

        39.      By contrast, the estimation proposed in the Estimation Motion is not deliberately

hamstrung by such restrictions. The goal of the Estimation Motion is to derive a valuation of the

abuse claims that will dictate the maximum amount that the Boy Scouts (together with its

insurers and any other parties seeking a release under the Plan) must make available for

distribution to abuse claimants. The size of that trust will be determined (and capped) by the

estimated value of the Boy Scouts’ childhood sexual-abuse claims. The preclusive effects of the

Court’s findings and rulings in connection with the estimation will be whatever applicable law

provides as determined in any applicable later matter.

        40.      To the extent that an estimation process might have preclusive effect as to

coverage litigation, any resulting shortening of such likely postconfirmation litigation that

otherwise could “unduly delay the administration of the case” should be welcomed. 11 U.S.C. §

502(c); see Fed. R. Bankr. P. 3022 (court should consider “whether all motions, contested

matters, and adversary proceedings have been finally resolved” before closing case; advisory

committee note to 1991 Amendment). No party should have the right to appear, litigate and

pretend the proceeding never occurred if the outcome is unfavorable — e.g., the very special

treatment the insurers demand and to which the Debtors appear willing to acquiesce.


C.      The Boy Scouts Do Not (and Cannot) Offer Much Substantive Criticism of
        Estimation, A Process It Also Favors

        41.      The Boy Scouts offers little meaningful criticism of the estimation proposed by

the survivor groups in its objection to the Estimation Motion. The Boy Scouts’ objection boils

down to (a) its empty assertion that its proposed estimation is better because it takes place as part

of Plan confirmation; (b) its belief that this Court can estimate personal injury claims; (c) an


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apparent misunderstanding about categorizing estimated claims into separate fields (e.g., type of

sexual abuse suffered, year, etc.), something that can be easily drawn from information set forth

on filed Proofs of Claim; and (d) its insistence that the estimation proposed in the Estimation

Motion would risk delaying its emergence from chapter 11 by its arbitrary “deadline.”14

           42.       First, the use of estimation proceedings “as part of” Plan confirmation, rather than

a prerequisite for confirmation (as outlined in the Estimation Motion) is a “distinction without a

difference.” The Boy Scouts concedes that estimation is necessary for the resolution of these

Chapter 11 Cases and incorporates estimation into its Plan. As discussed in the TCC’s objection

to the Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement and the

Form and Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III)

Approving Forms of Ballots, (IV) Approving Form, Manner and Scope of Confirmation Notices,

(V) Establishing Certain Deadlines in Connection with Approval of the Disclosure Statement and

Confirmation of the Plan, and (VI) Granting Related Relief [Docket No. 2295], for these cases to

move towards Plan confirmation, the childhood sexual-abuse claims must be valued. See Docket

No. 3526.

           43.       Second, the Boy Scouts has mischaracterized the estimation proposed in the

Estimation Motion as a “core proceeding.” To the contrary, the estimation of abuse claims is

noncore because it seeks “estimation of contingent or unliquidated personal injury tort or

wrongful death claims against the estate for purposes of distribution.” 28 U.S.C. § 157(b)(2)(B).

The purpose of the Estimation Motion is to facilitate “distribution.” See In re Roman Catholic

Archbishop of Portland (“Portland”), 339 B.R. 215, 220 (Bankr. D. Or. 2006) (“plan provid[ing]

that the estimation will provide a cap on the amount of money that will be made available to pay



14
     See Boy Scouts Objection ¶ 7 at 4; ¶ 20 at 9-10; ¶ 26 at 12; ¶ 31 at 14; ¶ 32 at 15; ¶ 35-36 at 15-16.


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the tort claims . . . . effectively limits the amount that will be distributed, thereby causing the

estimation of the claims to be for distribution purposes”).

        44.      Third, the Boy Scouts contends that categorizing estimated claims by “type of

abuse, by local council, by chartered organization, and on a year-by-year basis,” as requested in

the Estimation Motion, will be a monumental and time-consuming task. See Boy Scouts’

Objection to Estimation Motion ¶¶ 34-36 at 15-16. First, as to why it would be important to

associate the Boy Scouts’ liability for childhood sexual abuse claims with particular years of

abuse or associated local councils or chartered organizations, the Plan includes a possible

channeling injunction to the proposed settlement trust of the liability of others for childhood

sexual abuse claims. Determining the amount of the Boy Scouts’ liability associated with these

parties is an important step in reaching and having the Court approve settlements with them,

thereby adding them as Protected Parties under the Plan, and in evaluating those proposed

settlements in light of what a claimant might receive in a “best interests” test analysis.

        45.      As to the concerns with the burden of the task, the Boy Scouts’ concerns are

either disingenuous or the result of confusion. In its Confirmation Scheduling Motion, the Boy

Scouts trumpets the accomplishments of Bates White, which has “provided all parties with a

common analytical database reflecting information in the [proof of claim] submissions, allowing

the parties to sort and manipulate data across a range of dozens of categories including: abuse

allegation, dates of abuse, abuser, Local Council and other categories.” Confirmation

Scheduling Motion ¶ 15 at 6 (emphasis added). Presumably, the database touted by the Boy

Scouts—purportedly refined by Bates White over multiple “tranches” or a similar one from

experts retained by the survivor groups—should readily be able to be organized by various

categories or include additional categories without much difficulty.




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        46.      Finally, while the estimation procedure proposed by the survivor groups is not

materially longer in duration than the timetable proposed by the Boy Scouts, the Boys Scouts’

schedule does not provide sufficient time for discovery or the expert report process to unfold in a

reasonable manner. Due to the Boy Scouts’ refusal to provide critical discovery regarding

settlement and verdict data beyond a truncated and arbitrary four-year reachback period, the Boy

Scouts’ proposed timetable is unrealistic.

        47.      Indeed, an abbreviated discovery schedule at this juncture is at odds with this

Court’s rulings in other matters in which the rights of parties in interest to obtain relevant

information has been protected. For example, in the Imerys Talc America case, the Court stated:


                 I’m going to permit time for discovery to take place . . . . So, we’re
                 going to get documents. We’re going to have production. We’ll set
                 a schedule. We’ll set a schedule for confirmation . . . . [W]e’re
                 going to permit appropriate time for discovery. And if people want
                 the full time for responding to discovery, that factors into how
                 quickly we can proceed, and there’s nothing wrong with that; it
                 gets factored into the timeline.

And:


                 [W]e’re going to have time for discovery. We’re going to have
                 time for depositions. And we’re going to have time for expert
                 reports. And it doesn’t all need to be jammed into a truncated time
                 period.

In re Imerys Talc America, Inc., et al. (Case No. 19- 10289 (LSS) (Bankr. D. Del.)), 01/12/21

Hr’g Tr. at 186–87, 235–36.

        48.      Moreover, in light of glaring inadequacies with the Boy Scouts’ Disclosure

Statement and the Boy Scouts’ recent flat-out refusal to provide necessary and critical discovery

relating to, among other things, settlement and verdict data, the Disclosure Statement is not in




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any position to be approved by the Court in the near term such that the Boy Scouts itself could

not meet its own proposed deadlines.


D.      The Insurers, Fearful of the Liability That May Be Imposed on Them by
        Estimation, Offer No Basis to Deny the Motion

        49.      Although the insurers—perhaps fearful of the liability that will be imposed on

them by way of the estimation sought by the survivor groups—and certain others object to the

Estimation Motion, such parties offer little in the way of valid criticism of the Estimation

Motion. They simply do not want estimation to occur, except maybe the estimation proposed in

the Debtors’ Plan that specifically exempts insurers from any impact, as discussed above.

        50.      For example, Century Indemnity Company (“Century”) falsely asserts that the

Portland court “squarely rejected” the estimation of aggregate sexual abuse cases. Century

Objection ¶ 2 at 2; ¶¶ 9-10 at 4.

        51.      Instead, the court found that an estimation of such claims for purposes of

distribution would have to be addressed by the district court:


                 Debtor is correct that the distribution to all of the tort claimants
                 will be based on actual liquidated amounts, not on the estimated
                 amounts. However, debtor's proposed plan provides that the
                 estimation will provide a cap on the amount of money that will be
                 made available to pay the tort claims. This effectively limits the
                 amount that will be distributed, thereby causing the estimation of
                 the claims to be for distribution purposes, not merely for voting
                 and confirmation purposes.

                  ....

                 [The debtor] wants this court to estimate in the aggregate the
                 amounts of the present child sex abuse claims, for the purported
                 purpose of confirmation and voting. In fact, it intends to use the
                 estimation, along with estimation of other present tort claims, to
                 put an upper limit on the amount it will pay on all of the tort
                 claims, while discharging any actual liability in excess of the
                 estimated amount. This court does not have jurisdiction to estimate


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                 personal injury tort claims for purposes of distribution, which is in
                 effect what debtor asks this court to do.

                  ....

                 Because I conclude that the estimation debtor seeks is at least
                 in part for the purpose of distribution, I cannot make that
                 estimation. If debtor decides that it wants to proceed with a
                 plan of reorganization that depends on an aggregate estimation
                 of present child sex abuse claims for purposes of capping the
                 fund from which tort claims will be paid, I will at the
                 appropriate time prepare a report and recommendation to the
                 district court.

Portland, 339 B.R. at 220-21 (emphasis added).

        52.      Century, Certain Insurers, and the Church of Jesus Christ of Latter-day Saints also

accuse the survivor groups of seeking to estimate nondebtor claims.15 But, as Century quotes in

its objection, the estimation of sexual-abuse claims against the Boy Scouts necessarily will

“include[e] the extent to which those liabilities are shared [] by any local council or chartered

sponsoring organization [and] will inform the contribution that can and should be expected from

local council and chartered organization.” Estimation Motion at 5 (cited in Century Objection ¶

30 at 11). That nondebtors may be co-liable on an estimated claim and are claiming coverage

under the Boy Scouts’ insurance policies does not render the estimation of such claim somehow

improper or unprecedented.

        53.      In connection with the Estimation Motion, Century, Certain Insurers and Old

Republic suggest that estimation may permissibly involve only a determination of a “an

individual claim or group of related claims” but not more than one unrelated claim, thus

apparently challenging both the estimation proposed by the Estimation Motion and the


15
   See Century Objection ¶¶ 26-30 at 10-11; Certain Insurers Objection ¶ 13 at 6-7; Objection of the Church of Jesus
Christ of Latter-day Saints, a Utah Corporation Sole, to Motion of the Future Claimants’ Representative, the
Official Committee of Tort Claimants, and the Coalition of Abused Scouts for Justice for Entry of an Order,
Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation of Current and Future Abuse Claims and
(II) Establishing Procedures and Schedule for Estimation Proceedings [Docket No. 2610] ¶ 1 at 1, ¶¶ 5-6 at 2-3.


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estimation proposed by the Debtors.16 This argument against estimation of claims in the

aggregate is frivolous. See, e.g., 11 U.S.C. § 102(7) (“[T]he singular includes the plural.”); In re

North Am. Health Care, Inc., 544 B.R. 684, 689 (Bankr. C.D. Cal. 2016) (“Unliquidated claims

can be estimated individually or in the aggregate.”); In re Armstrong World Indus., 348 B.R.

111, 136 (D. Del. 2006); In re Federal-Mogul Global, Inc., 330 B.R. 133, 164 (D. Del. 2005);

Owens Corning v. Credit Suisse First Boston, 322 B.R. 719, 725 (D. Del. 2005); In re Specialty

Prods. Holding Corp., 2013 Bankr. LEXIS 2051 (Bankr. D. Del. May 20, 2013). A court readily

may estimate one or more claims as needed.

           54.      Finally, estimation may result in something that the insurers fear more than

anything else—a settlement. The estimation of tort claims on an aggregate basis, as ordered in

recent mass tort bankruptcy proceedings, has led to settlements and consensual plans of

reorganization. See, e.g., In re PG&E Corp., No. 19 30088-DM (Bankr. N.D. Cal. Aug. 21,

2019) (recommendation for district court to withdraw the reference of section 502(c) proceeding

involving estimation of debtors’ aggregate liability for tort claims).

           55.      And, a plan settlement involving the Debtors’ tort liability could imperil the

insurers to the tune of billions of dollars in coverage obligations that, if honored, would make it

possible to provide meaningful compensation to survivors. See, e.g., UNR Indus., Inc. v. Cont’l

Cas. Co., 942 F.2d 1101, 1108 (7th Cir. 1991) (holding order confirming chapter 11 plan of

reorganization that included a settlement of asbestos claims was a “judgment” or “settlement”

against the debtor that triggered excess insurer’s coverage obligations). The answer to the

question of whether an insurer can be bound by the res judicata or collateral estoppel effect of a

plan confirmation order is plainly “yes.” This is what otherwise applicable principles of res


16
     Century Objection ¶ 13-14 at 5-6, ¶ 15 at 8; see Certain Insurers Objection ¶ 9 at 5; Old Republic Objection ¶ 3 at
2.


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judicata or collateral estoppel mandate. Avoiding this outcome has and will always be the

insurers’ primary objective here. Estimation is not the problem; it may be the solution.



                                         CONCLUSION

        For all the foregoing reasons, the survivor groups respectfully request that the Court enter

its order (i) granting the Estimation Motion with leave for the parties to advise the District Court

of the disposition of the motion in connection with the District Court’s determination of the

pending Motion to Withdraw the Reference; and (ii) granting the undersigned survivor groups

such other and further relief as may be necessary or appropriate under the circumstances.


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